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                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA
                                    CIVIL MINUTES - GENERAL

    Case No. 2:09−cv−08324−MCS−AGR                      Date      October 13, 2021
                  UNITED STATES OF AMERICA ET AL V. ATLANTIC RECOVERY
    Title
                 SERVICES, INC. ET AL




    Present:        The Honorable      Mark C. Scarsi , U. S. District Judge
                 Stephen Montes Kerr                            Not Reported;
                     Deputy Clerk                           Court Reporter/Recorder

       Attorney(s) Present for Plaintiff(s):         Attorney(s) Present for Defendant(s):
                 None Present                                    None Present


   Proceedings:      (IN CHAMBERS) ORDER TO SHOW CAUSE RE: DISMISSAL
                      FOR LACK OF PROSECUTION

           Plaintiff is ordered to show cause, in writing, no later than October 20, 2021, why
     this action should not be dismissed for lack of prosecution. The Court will consider the
     filing of the following on or before the above date as an appropriate response to this
     Order to Show Cause:


            Proof of service of summons and complaint

     X Response to the complaint by the defendant or an application for entry of default
       pursuant to Federal Rule of Civil Procedure 55(a)

            Application for entry of default judgment pursuant to Federal Rule of Civil
            Procedure 55(b)


           No oral argument on this matter will be heard unless otherwise ordered by the
     Court. See Fed. R. Civ. P. 78; Local Rule 7-15. The Order will stand submitted upon
     the filing of the response to the Order to Show Cause. Failure to respond to the Order to
     Show Cause will result in the dismissal of this action.

            IT IS SO ORDERED.

                                                                    Initials of Clerk: smo


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